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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-2293V
                                        UNPUBLISHED


    JOSE TOMAS SINISCALCHI,                                 Chief Special Master Corcoran

                        Petitioner,                         Filed: January 24, 2023
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Emily Beth Ashe, Anapol Weiss, Philadelphia, PA, for Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On December 14, 2021, Jose Tomas Siniscalchi filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2
(the “Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (GBS)
which was caused in fact by the influenza (flu) vaccination on September 22, 2020.
Petition at 1. Petitioner further alleges that the vaccination was administered within the
United States, his symptoms persisted for more than six months, and he has never
received any compensation in the form of an award or settlement for his vaccine-related
injuries. Petition at 1, 13. The case was assigned to the Special Processing Unit of the
Office of Special Masters.



1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On December 27, 2022, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent determined that “[P]etitioner has satisfied all legal
prerequisites for compensation under the Vaccine Act as set forth in the Table and the
Qualification and Aids to Interpretation.” Id. at 4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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